              Case 16-36487 Document 73 Filed in TXSB on 08/04/18 Page 1 of 2
                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In     Hadi Zareian
Re:                                                                             ENTERED
       Debtor(s)                                       Case No.: 16−36487       08/02/2018
                                                       Chapter: 7


                                             ORDER CLOSING CASE

The estate has been fully administered. Therefore, the Court orders:

1. Randy W Williams is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 8/2/18
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                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 16-36487-jb
Hadi Zareian                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0541-4                  User: ltie                         Page 1 of 1                          Date Rcvd: Aug 02, 2018
                                      Form ID: fnldtxs                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 04, 2018.
db             +Hadi Zareian,   8526 Twillngate Lane,   Houston, TX 77040-5642

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 04, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 2, 2018 at the address(es) listed below:
              Kyle Kenneth Payne   on behalf of Debtor Hadi Zareian notices@payne.associates,
               sughrueassocnotices2@yahoo.com
              Randy W Williams   williarw@tklaw.com,
               rw13@trustesolutions.com;nashira.parker@tklaw.com;rw13@trustesolutions.net;rw11@trustesolutions.n
               et;rww.trustee1@gmail.com;mattia.maldanado@tklaw.com
              Tara L Grundemeier   on behalf of Creditor   Harris County Tax Office
               houston_bankruptcy@publicans.com
              Tara L Grundemeier   on behalf of Creditor   Harris County houston_bankruptcy@publicans.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                            TOTAL: 5
